         Case 3:13-cv-01890-CSH Document 162 Filed 12/28/15 Page 1 of 4



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
____________________________________
                                     )
CONSTANCE E. BAGLEY,                 )
                                     )
            Plaintiff,               )   Civil Action No. 3:13-cv-1890 (CSH)
                                     )
v.                                   )
                                     )
YALE UNIVERSITY, DOUGLAS             )
RAE, EDWARD SNYDER, and              )   DECEMBER 28, 2015
ANDREW METRICK, Individually,        )
                                     )
            Defendants.              )
____________________________________)


              RULING ON PLAINTIFF'S MOTION FOR CLARIFICATION

HAIGHT, Senior District Judge:

       Plaintiff Constance Bagley has filed a Motion for Clarification [Doc. 161] of the Court's

earlier Ruling, reported at 2015 WL 8750901 (D. Conn. Dec. 14, 2015) (the "December 14 Ruling"),

familiarity with which is assumed. The December 14 Ruling granted in part Plaintiff's motion [Doc.

135] to compel defendant Yale University to produce certain documents.

       No response by Defendant to Plaintiff's present clarification motion is required. To the extent

the Court's December 14 Ruling requires clarification, this Ruling supplies it.

       The December 14 Ruling concluded by granting Plaintiff's motion to compel, insofar as that

motion sought the immediate discovery of certain documents relating to "those obvious

comparators, the reappointment professors." 2015 WL 8750901, at *9. These are "the individuals

who (a) were Professors in the Practice on the faculty of the Yale School of Management during the

period 2008-2013 and (b) during that period, applied for reappointment to that rank and position."


                                                 1
         Case 3:13-cv-01890-CSH Document 162 Filed 12/28/15 Page 2 of 4



Id. The December 14 Ruling reasoned that those individuals were the appropriate comparators to

Bagley in this action, where Bagley's core claim is that, while she was a Professor in the Practice on

the Yale SOM faculty seeking reappointment to that position, Yale discriminated against her by

refusing to reappoint her while reappointing other Professors in the Practice.

        The December 14 Ruling directs the specified discovery with respect to the specified

individuals during the period 2008-2013 because that is the period of time Bagley held the rank and

position of Professor in the Practice. Bagley received that appointment in the form of Dean Garstka's

April 8, 2008 letter to Bagley, confirming "that the Faculty of the School of Management has voted

you an appointment as Professor in the Practice of Law and Management for a term of five years

beginning July 1, 2008." The question of Bagley's possible reappointment to that faculty position

did not and could not arise until she was appointed to it in the first place. While the self-evident

truth of that proposition is more a matter of English language than of law, under governing law

events involving a particular comparator are relevant to this discrimination action only if, at the time

of those events, the comparator and Bagley were "similarly situated in all material respects." 2015

WL 8750901, at *2 (citing and quoting Second Circuit cases).

        Bagley's clarification motion proposes an Order [Doc. 161-1] which extends the period of

discovery concerning the identified comparators "from 2007-2014, the period during which Plaintiff

was employed as a member of the faculty." There is no basis for extending the discovery period into

2007. Bagley's first amended complaint alleges in ¶ 31 that she "was recruited to Yale in 2007 by

Joel Podolny, who at that time was the Dean of the SOM, for a one-year appointment as a visiting

Associate Professor," and in ¶ 32 that "In April, 2008, Professor Bagley accepted an employment

contract with Yale SOM as a Professor in the Practice for an initial five-year appointment . . . " It


                                                   2
           Case 3:13-cv-01890-CSH Document 162 Filed 12/28/15 Page 3 of 4



cannot seriously be suggested that the recipient of a one-year faculty appointment as a visiting

associate professor (Bagley's 2007 status) is similarly situated in all material respects to the recipient

of a five-year faculty appointment as a resident Professor in the Practice (Bagley's status beginning

in 2008). The record makes it clear that before Bagley's status could be changed from one to the

other, the Faculty BPO and the Dean had to go through the rather elaborate voting and appointive

process which culminated in Dean Garstka's April 8, 2008 letter to Bagley appointing her as a

Professor in the Practice. That action changed Bagley's situation on the faculty in fundamental

respects, and for the first time caused her to be similarly situated in material respects with other

Professors in the Practice. Events occurring in 2007 fall outside the parameters of the December 14

Ruling.

          It follows that the discoverable period, with respect to applications for reappointment by or

reappointments of Yale SOM Professors in the Practice, is 2008-2013. The December 14 Ruling

means what it says in its concluding paragraphs. In her present motion for clarification, Bagley

professes to be confused by an earlier observation in the December 14 Ruling that "counsel will have

no difficulty identifying which of the eight PiPs designated by Bagley were granted reappointment

by Yale during the time of Bagley's employment." 2015 WL 8750901, at *5 (emphasis added).

While Bagley was indeed employed by Yale as a one-year visiting associate professor during 2007,

one would think the Ruling's discussion following the emphasized phrase made it plain that the

phrase means "during the time of Bagley's employment as a PiP." The Ruling's conclusion, stated

with what seems to its author to be sufficient clarity, is that both Bagley and another faculty member

must have been Professors in the Practice for that other individual to be a comparator of Bagley's in

the context of reappointment procedures.


                                                    3
        Case 3:13-cv-01890-CSH Document 162 Filed 12/28/15 Page 4 of 4



       In consequence, the Court rejects Bagley's proposed Order and adheres to the December 14

Ruling, which requires immediate production by Yale of the specified documents generated by SOM

Professors in the Practice applying for or receiving reappointment at any time during the years of

2008 through 2013.

       For the foregoing reasons, Plaintiff's motion to clarify the December 14 Ruling is DENIED.

       It is SO ORDERED.

Dated: New Haven, Connecticut
       December 28, 2015



                                              /s/ Charles S. Haight, Jr. __________________________
                                             CHARLES S. HAIGHT, JR.
                                             Senior United States District Judge.




                                                4
